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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE

                       Plaintiff,
                                                      15 Civ. 7433 (LAP)
-against-
                                                            ORDER
GHISLAINE MAXWELL,

                       Defendant.


LORETTA A. PRESKA, Senior United States District Judge:

The    Court    has   reviewed     the   parties’      joint    letter   seeking

clarification of the review protocol.                  (See dkt. no. 1052.)

Defendant’s position accurately interprets the protocol, i.e., the

Court will only review Docket Entries 143, 164, 172, 199, and 230

with respect to Does 1 and 2, meaning only Does 1 and 2 will be

notified in the first instance.              However, the Court acknowledges

the practical difficulties with this process as explained by

Plaintiff in her submission, (dkt. no. 1052 at 2), and is thus

amenable to unsealing portions of documents mentioning non-parties

rather than waiting to unseal the entirety of a given document

until all non-parties have provided input.               This will hopefully

allow the materials to be unsealed on a rolling basis and at a

rate somewhat coextensive with that of the review process.

       Moreover, as the Court noted in a previous order, this process

is a “cooperative effort between the Court and the parties.”                (See

dkt.   no.     1047   at   1   n.1.)   Should   the   current    process   prove

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unworkable or inefficient, the Court is happy to revisit the review

protocol with the parties’ input.

SO ORDERED.


Dated:    New York, New York
          May 1, 2020


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LORETTA A. PRESKA
Senior United States District Judge




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